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                              UNITED STATES DISTRICT COURT
                                        FOR THE
                              WESTERN DISTRICT OF VIRGINIA

   ELIZABETH SINES, et. al.,                  :
                                              :
                Plaintiffs,                   :
                                              :
           v.                                 : Case No. 3:17-cv-00072-NKM
                                              :
   JASON KESSLER, et. al.,                    :
                Defendants.



                   PRAECIPE/NOTICE OF APPEARANCE OF COUNSEL

         To the Clerk:

         PLEASE note the appearance of the undersigned as counsel for the Defendants Jeff

  Schoep, the National Socialist Movement, and the Nationalist Front.


                                              Respectfully Submitted,

                                              ___/s/ W. Edward ReBrook, IV
                                              W. EDWARD REBROOK, IV, ESQ.
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                                 CERTIFICATE OF SERVICE

  ______________________________________________________________________________
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         I hereby certify that, on March 19, 2019, I filed the foregoing Notice with the Clerk of the

  Court through the CM/ECF system, which will send a notice of electronic filings to the

  following:

                        on all counsels of record.


                                               ___/s/ W. Edward ReBrook, IV
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  Praecipe/Notice of Appearance of Counsel                             Page 2 of 2
